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                              GlassRatner Advisory Capital Group, LLC
                                         Summary of Fees
                                  SEC v. Zhunrize Inc and Jeff Pan
                             December 19, 2014 through March 31, 2015

        Category            Professional     Hours        Rate         Amount

Asset Analysis & Recovery
                       Michael Fuqua, CIRA      7.8   $ 325.00     $    2,535.00
   Total Asset Analysis & Recovery              7.8                $    2,535.00

Business Analysis
                      Michael Fuqua, CIRA      42.1   $ 325.00     $ 13,682.50
   Total Business Analysis                     42.1                $ 13,682.50

Case Administration
                      Michael Fuqua, CIRA      31.7   $ 325.00     $ 10,302.50
   Total Case Administration                   31.7                $ 10,302.50

Accounting/Auditing                                                $         -
                      Laura Clemente            8.0   $ 195.00     $    1,560.00
   Total Accounting/Auditing                    8.0                $    1,560.00

Forensic Accounting
                      Michael Fuqua, CIRA      46.3   $   325.00   $ 15,047.50
                      Laura Clemente          182.8   $   195.00   $ 35,646.00
                      Neydi Lennard            12.0   $    95.00   $ 1,140.00
                      Alissa Graffius, JD      57.8   $   195.00   $ 11,271.00
                      Kate Bumburyak            1.6   $   195.00   $    312.00
   Total Forensic Accounting                  300.5                $ 63,416.50

Total                                         390.1                $ 91,496.50




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                                GlassRatner Advisory Capital Group, LLC
                                           Detail of Expenses
                                    SEC v. Zhunrize Inc and Jeff Pan
                               December 19, 2014 through March 31, 2015

Expense       Date                                     Description                     Amount

Postage & Delivery
            02/10/15 FedEx - 2/3 - Funds Request E*Trade                           $      23.04
            02/10/15 FedEx - 2/3 - Funds Request TD AmeriTrade                     $      23.04
            02/10/15 FedEx - 2/5 - BMC Payment for Receivership Website            $      27.41
            02/10/15 FedEx - 2/9 - Funds Request National Bank of California       $      27.41
            02/10/15 FedEx - 2/9 - Funds Request American Express                  $      23.96
            02/10/15 FedEx - 2/10 - Funds Request Merchant Services LTD            $      22.45
   Total Postage & Delivery                                                        $     147.31
Other
            01/31/15 Conference calls: 12/22                                       $       2.14
            01/31/15 Pacer charges                                                 $       3.00
            02/26/15 Pacer charges                                                 $       1.90
            03/31/15 Pacer charges                                                 $       1.80
   Total Other                                                                     $       8.84

                       Total Expenses                                              $     156.15




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                                                   GlassRatner Advisory Capital Group, LLC
                                                                Detail of Fees
                                                       SEC v. Zhunrize Inc and Jeff Pan
                                                  December 19, 2014 through March 31, 2015


        Professional    Date                                                 Description                                              Hours        Amount

Accounting/Auditing
     Laura Clemente    12/29/14 Call with Wells Fargo regarding necessary documents to open receiver account                            0.50   $       97.50
     Laura Clemente    12/29/14 Meet with MF regarding opening Receivership Bank account                                                0.40   $       78.00
     Laura Clemente    12/29/14 Open account at Wells Fargo                                                                             0.50   $       97.50
     Laura Clemente    12/30/14 Call with Wells Fargo regarding account title and EIN                                                   0.30   $       58.50
     Laura Clemente    01/15/15 Call with Wells Fargo regarding recent deposit                                                          0.10   $       19.50
     Laura Clemente    01/26/15 Set up QuickBooks file for Receivership account; process receivables from Wells Fargo                   0.30   $       58.50
     Laura Clemente    01/27/15 Reconcile bank activity to Quickbooks; record recent wire activity; call with Wells Fargo regarding     0.50   $       97.50
                                same
     Laura Clemente    02/05/15 Prepare payment to claims processor; correspondence with BMC Group and Receiver regarding               0.60   $      117.00
                                same
     Laura Clemente    02/06/15 Process funds received; discussion with Bank Manager regarding receivership account deposits            1.00   $      195.00

     Laura Clemente    02/09/15 Call to IOI Payroll Services regarding filing requirements; related research                            0.30   $       58.50
     Laura Clemente    02/10/15 Call to IOI Payroll Services regarding W-2 processing                                                   0.10   $       19.50
     Laura Clemente    02/10/15 Reconcile bank statement; enter transactions                                                            0.30   $       58.50
     Laura Clemente    02/13/15 Process requested funds received                                                                        0.60   $      117.00
     Laura Clemente    02/18/15 Call with IOI Payroll regarding W-2 request                                                             0.20   $       39.00
     Laura Clemente    02/23/15 Review and send w-2's and 1099's received from IOI Payroll Services                                     0.30   $       58.50
     Laura Clemente    02/26/15 Process receipt of funds from National Bank of California                                               0.40   $       78.00
     Laura Clemente    03/02/15 Process payables                                                                                        0.60   $      117.00
     Laura Clemente    03/05/15 Call to IOI Payroll regarding additional invoice received                                               0.40   $       78.00
     Laura Clemente    03/12/15 Calls and correspondence with representative at IOI Payroll Services regarding invoice                  0.30   $       58.50
                                discrepancies
     Laura Clemente    03/12/15 Reconcile bank statement to QuickBooks                                                                  0.30   $       58.50
                                                                      Total Accounting/Auditing                                         8.00   $    1,560.00

Forensic Accounting
     Laura Clemente    12/29/14 Onsite visit; review documents and items on site; take photos of office                                 3.00   $      585.00
     Laura Clemente    12/29/14 Load and catalog photos of offsite office                                                               0.30   $       58.50
     Laura Clemente    12/30/14 Correspondence and calls with D Farris regarding access to remote server                                0.50   $       97.50
     Laura Clemente    12/30/14 Work with DJ to set up remote connection to offsite server; call with D Farris regarding same           0.90   $      175.50
     Laura Clemente    12/30/14 Conversation with MF and D. Wax                                                                         0.60   $      117.00
     Laura Clemente    12/30/14 Copy multiple Quickbooks files from remote server to GlassRatner as backup copy                         1.20   $      234.00
     Laura Clemente    12/31/14 Onsite visit; review and organize documents and items on site                                           4.80   $      936.00
     Laura Clemente    01/02/15 Onsite review and cataloge documents and locations; inventory office; check passwords                   8.00   $    1,560.00
     Neydi Lennard     01/06/15 Prepare extracted August 1 - 5, 2014 Wells Fargo account for access analysis                            2.00   $      190.00
     Laura Clemente    01/06/15 Prepare funds request letter                                                                            0.50   $       97.50
     Laura Clemente    01/06/15 Review bank statements received                                                                         0.70   $      136.50
     Laura Clemente    01/06/15 Extract and prepare template; discussion with MF regarding same                                         0.60   $      117.00
     Laura Clemente    01/06/15 Initial case review with NY                                                                             0.50   $       97.50
     Neydi Lennard     01/07/15 Prepare extracted August 6 - 13, 2014 Wells Fargo account for access analysis                           2.00   $      190.00
     Neydi Lennard     01/07/15 Prepare extracted August 14 - 22, 2014 Wells Fargo account for access analysis                          2.00   $      190.00
     Neydi Lennard     01/08/15 Prepare extracted August 23 - 29, 2014 Wells Fargo account for access analysis                          2.00   $      190.00
     Laura Clemente    01/08/15 Convert East West bank statements and Wells Fargo credit card statements into excel                     1.40   $      273.00
     Laura Clemente    01/08/15 Prepare for meeting with D Farris, IT Contractor                                                        0.50   $       97.50
     Laura Clemente    01/08/15 Save files collected from Tae Yi to server; correspondence with MF regarding same                       0.30   $       58.50
     Laura Clemente    01/08/15 Review progress made preparing Wells Fargo statement for Access                                         0.30   $       58.50
     Laura Clemente    01/08/15 Meeting with D Farris                                                                                   0.80   $      156.00
     Laura Clemente    01/08/15 Post Farris meeting with JO and MF                                                                      0.70   $      136.50
     Laura Clemente    01/08/15 Review QB information with MF                                                                           0.50   $       97.50
     Laura Clemente    01/09/15 Pull Vodaware, Vodaplex and Berger payments from QuickBooks; verify payments to bank                    0.40   $       78.00
                                statement available; prepare schedule; correspondence with MF regarding same
     Neydi Lennard     01/12/15 Prepare extracted September 2 - 11, 2014 Wells Fargo account for access analysis                        2.00   $      190.00
     Neydi Lennard     01/12/15 Prepare extracted September 12 - 30, 2014 Wells Fargo account for access analysis                       2.00   $      190.00
     Laura Clemente    01/12/15 Pull balance sheet from QuickBooks file                                                                 0.20   $       39.00
     Laura Clemente    01/13/15 Calls to AmeriTrade, SunTrust, East West Bancorp, Metro City Bank, and Wells Fargo regarding            1.10   $      214.50
                                funds remittance
     Laura Clemente    01/13/15 Prepare and send correspondence regarding funds remittance to Bank of America, AmeriTrade,              1.20   $      234.00
                                Wells Fargo, Metro City Bank and E*Trade
     Laura Clemente    01/14/15 Working session with MF regarding data in QuickBooks; export related data                               0.80   $      156.00
     Laura Clemente    01/14/15 Review Wells Fargo bank data prepared for access                                                        0.60   $      117.00
     Laura Clemente    01/14/15 Calls and correspondence with East West Bank regarding funds remittance; prepare and send               0.30   $       58.50
                                correspondence regarding same
     Laura Clemente    01/15/15 Onsite with K McDonald, Counsel and MF regarding walk through Zhunrize software and server              2.00   $      390.00

     Laura Clemente    01/15/15 Onsite recover hard drive data from one computer                                                        1.60   $      312.00
     Laura Clemente    01/15/15 Meeting with Counsel and MF regarding findings and strategy                                             1.70   $      331.50
     Laura Clemente    01/16/15 Meeting with MF regarding QuickBooks sales data; pull bank account transactions from                    0.50   $       97.50
                                QuickBooks remote server
     Laura Clemente    01/19/15 Meeting with MF regarding analysis of QuickBooks data and related schedules                             0.50   $       97.50
     Laura Clemente    01/22/15 Database training to use document database to review documents received from SEC                        1.50   $      292.50
     Laura Clemente    01/27/15 Meeting with MF re: bank statement data and analysis                                                    0.40   $       78.00

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                                                 GlassRatner Advisory Capital Group, LLC
                                                              Detail of Fees
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                                                December 19, 2014 through March 31, 2015
   Professional        Date                                               Description                                            Hours        Amount

Laura Clemente        01/27/15 Organize and review Bank of America statements from database                                        0.60   $      117.00
Laura Clemente        01/27/15 Organize bank statements from Wells Fargo and BB&T and determine what additional statements         1.00   $      195.00
                               should be requested
Laura Clemente        01/27/15 Organize bank statements from East West Bank, SunTrust and Metro City Bank and determine            1.20   $      234.00
                               what additional statements should be requested
Laura Clemente        01/27/15 Compare accounts listed in Pan Disclosure to statements received from counsel                       0.40   $       78.00
Laura Clemente        01/27/15 Compare accounts listed in Pan Disclosure to accounts Receiver requested funds to determine         0.40   $       78.00
                               what additional funds should be requested
Laura Clemente        01/27/15 Review financial institutions contacted; determine additional financial institutions to contact     0.40   $       78.00
Laura Clemente        01/27/15 Meeting with MF regarding bank statement data received                                              0.40   $       78.00
Laura Clemente        01/28/15 Review bank statements received; update schedule of statement balances and funds disclosed and      1.10   $      214.50
                               received
Laura Clemente        01/28/15 Extract PDF Wells Fargo bank statements into excel for analysis, accounts #0093 & 3065              1.20   $      234.00
Laura Clemente        01/28/15 Extract PDF Wells Fargo bank statements into excel for analysis, accounts #739 & 9780               1.20   $      234.00
Laura Clemente        01/29/15 Extract Metro City, East West, and SunTrust bank statements currently received                      1.70   $      331.50
Laura Clemente        01/30/15 Prepare extracted Wells Fargo account#0093 statements for access analysis, July - September         1.30   $      253.50
                               2012
Laura Clemente        01/30/15 Prepare extracted Wells Fargo account#0093 statements for access analysis, October - December       1.20   $      234.00
                               2012
Laura Clemente        01/30/15 Prepare extracted January - March 2013 Wells Fargo account#0093 statements for access analysis      2.00   $      390.00

Laura Clemente        01/30/15 Prepare extracted April - May 2013 Wells Fargo account#0093 statements for access analysis          1.50   $      292.50
Alissa Graffius, JD   02/02/15 Prepare extracted bank statements for Access analysis - July 1, 2014 through July 13, 2014 for      2.00   $      390.00
                               Wells Fargo account ending in 0093
Alissa Graffius, JD   02/02/15 Prepare extracted bank statements for Access analysis - July 14, 2014 through July 26, 2014 for     2.00   $      390.00
                               Wells Fargo account ending in 0093
Alissa Graffius, JD   02/02/15 Prepare extracted bank statements for Access analysis - July 27, 2014 through July 31, 2014 for     0.80   $      156.00
                               Wells Fargo account ending in 0093
Alissa Graffius, JD   02/02/15 Prepare extracted bank statements for Access analysis - August 1, 2014 through August 4, 2014       0.60   $      117.00
                               for Wells Fargo account ending in 0093
Laura Clemente        02/02/15 Prepare extracted bank statements June - July 2013 Wells Fargo account#0093 for access              1.80   $      351.00
                               analysis
Laura Clemente        02/02/15 Prepare extracted bank statements August - September 2013 Wells Fargo account#0093 for              1.40   $      273.00
                               access analysis
Laura Clemente        02/02/15 Prepare extracted bank statements October 2013 Wells Fargo account#0093 for access analysis         0.70   $      136.50

Laura Clemente        02/02/15 Prepare extracted bank statements November - December 2013 Wells Fargo account#0093 for             1.40   $      273.00
                               access analysis
Laura Clemente        02/02/15 Discuss status of statement preparation with MF; review next priorities                             0.50   $       97.50
Alissa Graffius, JD   02/03/15 Prepare extracted bank statements for Access analysis - August 5, 2014 through August 16, 2015      2.00   $      390.00
                               for Wells Fargo account ending in 0093
Alissa Graffius, JD   02/03/15 Prepare extracted bank statements for Access analysis - August 17, 2014 through August 31, 2015     2.00   $      390.00
                               for Wells Fargo accounting ending in 0093
Alissa Graffius, JD   02/03/15 Prepare extracted bank statements for Access analysis - September 2014 and October 2014 for         1.50   $      292.50
                               Wells Fargo account ending in 0093
Alissa Graffius, JD   02/03/15 Prepare extracted bank statements for Access analysis - August 1, 2014 through August 4, 2014       0.80   $      156.00
                               for Bank of America account
Kate Bumburyak        02/03/15 Organize copies of checks and deposits received from the bank for WF acct# 0093 & acct# 1766        1.40   $      273.00

Kate Bumburyak        02/03/15 Research vendor & payee information for 2012 & 2013 activity                                        0.20   $       39.00
Laura Clemente        02/03/15 Calls and correspondence with BB&Tand Regions regarding funds remittance; prepare letters           1.50   $      292.50
                               regarding same
Laura Clemente        02/03/15 Calls and correspondence with First Citizens and SunTrust regarding funds remittance; prepare       1.50   $      292.50
                               letters regarding same
Laura Clemente        02/03/15 Update bank statement schedule                                                                      0.80   $      156.00
Laura Clemente        02/03/15 Call to Metro City Bank regarding funds remittance                                                  0.20   $       39.00
Laura Clemente        02/03/15 Prepare extracted bank statements January - February 2014 Wells Fargo account#0093 for access       2.00   $      390.00
                               analysis
Alissa Graffius, JD   02/04/15 Prepare extracted bank statements for Access analysis - August 4, 2014 through August 10, 2014      2.00   $      390.00
                               for Bank of America account
Alissa Graffius, JD   02/04/15 Prepare extracted bank statements for Access analysis - August 11, 2014 through August 17, 2014     1.50   $      292.50
                               for Bank of America account
Laura Clemente        02/04/15 Prepare extracted bank statements March 2014 Wells Fargo account#0093 for access analysis           1.10   $      214.50
Laura Clemente        02/04/15 Prepare extracted bank statements April 2014 Wells Fargo account#0093 for access analysis           1.20   $      234.00
Laura Clemente        02/04/15 Prepare extracted bank statements May - June 2014 Wells Fargo account#0093 for access               2.00   $      390.00
                               analysis
Laura Clemente        02/04/15 Pivot transactions for Wells Fargo account 0093; review results and next steps with MF              0.50   $       97.50
Alissa Graffius, JD   02/05/15 Prepare extracted bank statements for Access analysis - August 18, 2014 through August 27, 2014     2.00   $      390.00
                               for Bank of America account
Alissa Graffius, JD   02/05/15 Prepare extracted bank statements for Access analysis - August 28, 2014 through August 31, 2014     0.90   $      175.50
                               for Bank of America account
Laura Clemente        02/05/15 Reconcile payments recorded in QuickBooks to Vodaware and Vodaplex to payments recorded in          1.60   $      312.00
                               bank statements for Wells Fargo account #0093; update schedule to reflect same


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                                                  GlassRatner Advisory Capital Group, LLC
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                                                 December 19, 2014 through March 31, 2015
   Professional        Date                                                Description                                             Hours        Amount

Laura Clemente        02/05/15 Review Sales account transactions from QuickBooks; determine the bank accounts most affected          0.30   $       58.50
                               by sales
Laura Clemente        02/05/15 Calls and correspondence with Bank of America to request bank statements                              0.70   $      136.50
Laura Clemente        02/05/15 Calls and correspondence with SunTrust regarding account freeze and funds remittance                  0.60   $      117.00
Laura Clemente        02/05/15 Extract additional bank statement pages for Bank of America account                                   0.30   $       58.50
Alissa Graffius, JD   02/06/15 Prepare extracted bank statements for Access analysis - September 1, 2014 through September           2.00   $      390.00
                               15, 2014 for Bank of America account
Alissa Graffius, JD   02/06/15 Prepare extracted bank statements for Access analysis - September 16, 2014 through September          1.90   $      370.50
                               30, 2014 and October 2014 for Bank of America account
Alissa Graffius, JD   02/06/15 Prepare extracted bank statements for Access analysis - August 2014 through October 2014 for          1.10   $      214.50
                               Wells Fargo account ending in 9780
Alissa Graffius, JD   02/06/15 Prepare extracted bank statements for Access analysis - April 2014 for Wells Fargo account ending     0.20   $       39.00
                               in 9780
Alissa Graffius, JD   02/06/15 Prepare extracted bank statements for Access analysis - January 2013 through May 2013                 1.50   $      292.50
Laura Clemente        02/06/15 Calls with Regions Bank to request bank statements; correspondence with MF regarding same             0.30   $       58.50

Laura Clemente        02/06/15 Update schedules regarding funds received                                                             0.60   $      117.00
Laura Clemente        02/06/15 Prepare three months of extracted Wells Fargo Wire account for access analysis                        0.70   $      136.50
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - June 2013 Wells Fargo account ending in       2.00   $      390.00
                               9780
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - July 2013 Wells Fargo account ending in       1.20   $      234.00
                               9780
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - August 2013 Wells Fargo account ending        1.20   $      234.00
                               in 9780
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - September 2013 Wells Fargo account            1.20   $      234.00
                               ending in 9780
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - October 2013 Wells Fargo account ending       1.20   $      234.00
                               in 9780
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - November 2013 Wells Fargo account             1.20   $      234.00
                               ending in 9780
Alissa Graffius, JD   02/09/15 Prepare extracted bank statements for Access analysis - December 2013 Wells Fargo account             1.20   $      234.00
                               ending in 9780
Laura Clemente        02/09/15 Call to LTD Merchant Services regarding merchant processor account; related research                  0.20   $       39.00
Laura Clemente        02/09/15 Call and correspondence to Complete Merchant Solutions regarding merchant processor account;          0.60   $      117.00
                               related research
Laura Clemente        02/09/15 Call to Signature Card Services and Discover Network regarding merchant processor account;            0.70   $      136.50
                               related research; correspondence with Signature Card Services regarding account freeze and funds
                               remittance
Laura Clemente        02/09/15 Call to American Express Merchant Services regarding merchant processor account; related              0.80   $      156.00
                               research; correspondence regarding account freeze and funds remittance
Laura Clemente        02/09/15 Call and correspondence with Merrill Lynch Wealth Management regarding additional accounts            0.30   $       58.50

Laura Clemente        02/09/15 Meeting with Receiver regarding the claim form, status of statement preparation for Access, and       0.50   $       97.50
                               Zhunrize merchant processors
Laura Clemente        02/09/15 Call and correspondence with National Bank of California regarding account freeze and funds           0.50   $       97.50
                               remittance
Laura Clemente        02/09/15 Prepare extracted Wells Fargo Wire account bank statements for access analysis, January -             1.80   $      351.00
Laura Clemente        02/10/15 Call with American Express to confirm FedEx delivery                                                  0.30   $       58.50
Laura Clemente        02/10/15 Review statements received from Regions Bank                                                          0.30   $       58.50
Laura Clemente        02/10/15 Extract Regions bank statements in preparation for access analysis                                    0.30   $       58.50

Laura Clemente        02/10/15 Prepare extracted Wells Fargo Wire account bank statements for access analysis; March 2014            1.30   $      253.50

Laura Clemente        02/10/15 Prepare extracted Wells Fargo Wire account bank statements for access analysis; April & May           1.40   $      273.00
                               2014
Laura Clemente        02/10/15 Call and correspondence with Merchant Services LTD regarding account freeze and funds                 0.30   $       58.50
                               remittance
Laura Clemente        02/11/15 Prepare extracted Wells Fargo Wire account bank statements for access analysis; May 2014              0.80   $      156.00

Laura Clemente        02/11/15 Prepare extracted Wells Fargo Wire account bank statements for access analysis; June and July         1.50   $      292.50
                               2014
Laura Clemente        02/11/15 Compile and review Wells Fargo wire account and Wells Fargo 0093 account; analysis in excel           1.90   $      370.50
                               regarding sales, transfers and wires
Laura Clemente        02/11/15 Catagorize transactions in Wells Fargo Account 0093 for sources and uses analysis                     1.40   $      273.00
Laura Clemente        02/11/15 Working session with Receiver preparing questions for interview with D Wax; review next steps         1.50   $      292.50
Laura Clemente        02/11/15 Call and correspondence with IOI Payroll Services regarding w-2 and 1099 reporting                    0.60   $      117.00
Laura Clemente        02/12/15 Correspondence with JO regarding Agricultural Bank of China                                           0.10   $       19.50
Laura Clemente        02/12/15 Pull balance sheet and income statement data from remote server QuickBooks files; prepare             1.10   $      214.50
                               monthly schedules by year; compare income statements to income statements received from the
                               SEC
Laura Clemente        02/12/15 Categorize transactions in the Wells Fargo Wire account for cash flow analysis                        1.50   $      292.50
Laura Clemente        02/12/15 Combine Wells Fargo wire and 0093 account transactions; reconcile transfers and payments to           1.90   $      370.50
                               Vodaware and Vodaplex
Laura Clemente        02/12/15 Prepare cash flow analysis of Wells Fargo Wire and 0093                                               1.90   $      370.50

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                                                  GlassRatner Advisory Capital Group, LLC
                                                               Detail of Fees
                                                      SEC v. Zhunrize Inc and Jeff Pan
                                                 December 19, 2014 through March 31, 2015
   Professional        Date                                               Description                                              Hours        Amount

Alissa Graffius, JD   02/13/15   Prepare extracted bank statements for Access analysis - January 2012 BBT account                    1.20   $      234.00
Laura Clemente        02/13/15   Conference call with W Berger and Receiver                                                          1.00   $      195.00
Laura Clemente        02/13/15   Follow-up call and correspondence with IOI Payroll regarding tax reporting                          0.20   $       39.00
Laura Clemente        02/13/15   Prepare schedule of statements received and requested                                               0.20   $       39.00
Laura Clemente        02/13/15   Meeting w/Counsel and DWax; subsequent meeting w/Counsel and Receiver regarding same                2.20   $      429.00

Laura Clemente        02/13/15 Pull commissions and refund data from remote QuickBooks file; research transactions and tie           0.50   $       97.50
                               sample transactions to bank statement data; correspondence with Receiver regarding same

Alissa Graffius, JD   02/16/15 Prepare extracted bank statements for Access analysis - January through March 2012 - BB&T             1.80   $      351.00
                               account
Alissa Graffius, JD   02/16/15 Prepare extracted bank statements for Access analysis - April through May 2012 - BB&T account         0.90   $      175.50
Laura Clemente        02/16/15 Prepare extracted bank statement transactions for analysis in access; Wells Fargo account #3065       1.30   $      253.50

Laura Clemente        02/16/15 Prepare extracted bank statement transactions for analysis in access; East West account #3823         1.70   $      331.50

Laura Clemente        02/16/15 Prepare extracted bank statement transactions for analysis in access; East West account #2335         1.80   $      351.00

Laura Clemente        02/16/15 Prepare extracted bank statement transactions for analysis in access; East West account #1766         2.00   $      390.00
Alissa Graffius, JD   02/17/15 Prepare extracted bank statements for Access analysis - June through August 2012 - BB&T               1.90   $      370.50
                               account
Alissa Graffius, JD   02/17/15 Prepare extracted bank statements for Access analysis - September through October 2012 - BB&T         1.80   $      351.00
                               account
Alissa Graffius, JD   02/17/15 Prepare extracted bank statements for Access analysis - December 2012 through February 2013 -         1.00   $      195.00
                               BB&T account
Alissa Graffius, JD   02/17/15 Prepare extracted bank statements for Access analysis - March through April 2013 - BB&T account       1.10   $      214.50

Alissa Graffius, JD   02/17/15 Prepare extracted bank statements for Access analysis - May through July 2013 - BB&T account          1.80   $      351.00

Alissa Graffius, JD   02/17/15 Prepare extracted bank statements for Access analysis - August 2013 - BB&T account                    0.50   $       97.50
Laura Clemente        02/17/15 Calls to EastWest Bank, SunTrust, MetroCity, First Citizens, and Wells Fargo regarding additional     1.00   $      195.00
                               bank statements
Laura Clemente        02/17/15 Meeting with Receiver regarding schedules, commissions data pulled from QuickBooks and status         0.50   $       97.50
                               of assets and bank statement analysis
Laura Clemente        02/17/15 Update schedule of bank statement schedule with funds received and bank statements received           0.60   $      117.00

Alissa Graffius, JD   02/18/15 Prepare extracted bank statements for Access analysis - August through December 2013 - BB&T           2.00   $      390.00
Alissa Graffius, JD   02/18/15 Prepare extracted bank statements for Access analysis - January through May 2014 - BB&T               1.60   $      312.00
                               account
Laura Clemente        02/18/15 Call with East West Bank regarding bank statement requests                                            0.20   $       39.00
Alissa Graffius, JD   02/19/15 Prepare extracted bank statements for Access analysis - May through July 2014 - BB&T account          1.10   $      214.50

Alissa Graffius, JD   02/19/15 Prepare extracted bank statements for Access analysis - August through November 2014 - BB&T           1.10   $      214.50
                               account
Laura Clemente        02/19/15 Correspondence with East West Bank regarding request for bank statements                              0.20   $       39.00
Alissa Graffius, JD   02/20/15 Update binder with Bank of America bank statements received                                           0.60   $      117.00
Alissa Graffius, JD   02/20/15 Extract Bank of America Statements into Excel                                                         1.60   $      312.00
Alissa Graffius, JD   02/20/15 Prepare extracted bank statements for Access analysis - November and December 2014, June              0.30   $       58.50
                               2013 - Bank of America account
Alissa Graffius, JD   02/20/15 Prepare extracted bank statements for Access analysis - July through October 2013 - Bank of           1.70   $      331.50
                               America account
Alissa Graffius, JD   02/20/15 Prepare extracted bank statements for Access analysis - November and December 2013 - Bank of          1.80   $      351.00
                               America account
Laura Clemente        02/20/15 Call to Bank of America for invoice regarding bank statements received                                0.20   $       39.00
Laura Clemente        02/20/15 Extract Bank of America statements received from PDF to excel                                         0.70   $      136.50
Laura Clemente        02/20/15 Prepare extracted Bank of America statements for access analysis, January 2014                        0.80   $      156.00
Laura Clemente        02/20/15 Prepare extracted Bank of America statements for access analysis, February - March 2014               1.60   $      312.00
Laura Clemente        02/23/15 Calls and correspondence with Merrick Bank regarding funds request                                    0.30   $       58.50
Laura Clemente        02/23/15 Calls to MetroCity Bank, National Bank of California, and SunTrust regarding funds requests and       0.30   $       58.50
                               requests for bank statements
Laura Clemente        02/23/15 Prepare extracted Bank of America bank statements for access analysis, March 2014                     0.70   $      136.50
Laura Clemente        02/23/15 Prepare extracted Bank of America bank statements for access analysis, April - July 2014              1.40   $      273.00
Laura Clemente        02/23/15 Combine 2013 and 2014 extracted Bank of America statements; categorize transactions for               0.90   $      175.50
                               sources and uses analysis
Laura Clemente        02/24/15 Review and categorize BB&T, Bank of America, East West Bank, and Wells Fargo bank                     1.90   $      370.50
                               statements for sources and uses analysis; related research
Laura Clemente        02/24/15 Create access database; import BB&T, Bank of America, East West Bank and Wells Fargo                  2.00   $      390.00
                               transactions; create queries to combine and analyze sources and uses of funds
Laura Clemente        02/25/15 Prepare extracted Metro City Bank statements for access analysis, account #3444                       1.50   $      292.50
Laura Clemente        02/25/15 Prepare extracted Metro City Bank statements for access analysis, account #4608                       1.80   $      351.00
Laura Clemente        02/25/15 Extract Metro City Bank statements from PDF to excel format, account #6711                            0.50   $       97.50
Laura Clemente        02/25/15 Prepare extracted Metro City Bank statements for access analysis, account #6711, 2012                 0.90   $      175.50
Laura Clemente        02/25/15 Prepare extracted Metro City Bank statements for access analysis, account #6711, 2013                 1.30   $      253.50
Laura Clemente        02/26/15 Review results from bank statement analysis and discuss next direction with Receiver                  0.40   $       78.00

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                                             GlassRatner Advisory Capital Group, LLC
                                                          Detail of Fees
                                                 SEC v. Zhunrize Inc and Jeff Pan
                                            December 19, 2014 through March 31, 2015
  Professional    Date                                                Description                                               Hours        Amount

Laura Clemente   02/26/15 Pull bank statements from Bank of China website; related research                                       1.10   $      214.50
Laura Clemente   02/26/15 Prepare extracted Bank of China bank statements for access analysis, April - August 2014                1.10   $      214.50
Laura Clemente   02/26/15 Prepare extracted Bank of China bank statements for access analysis, September 2014 - January           1.10   $      214.50
                          2015
Laura Clemente   02/26/15 Prepare extracted Regions bank statements for access analysis                                           1.20   $      234.00
Laura Clemente   02/26/15 Prepare extracted Suntrust bank statements for access analysis                                          1.10   $      214.50
Laura Clemente   02/26/15 Prepare extracted MetroCity bank statements for access analysis; account 6711, January - June           1.20   $      234.00
                          2014
Laura Clemente   02/26/15 Prepare extracted MetroCity bank statements for access analysis; account 6711, July - October           0.90   $      175.50
                          2014
Laura Clemente   02/27/15 Extract National Bank of California bank statements; prepare extracted statements for access            1.30   $      253.50
                          analysis, April thru October 2014
Laura Clemente   02/27/15 Extract First Citizens bank statements; prepare extracted statements for access analysis, July thru     0.20   $       39.00
                          November 2014
Laura Clemente   02/27/15 Proof bank statement data for errors and import statements into access                                  1.80   $      351.00
Laura Clemente   02/27/15 Review sources and uses categories and update access table                                              1.10   $      214.50
Laura Clemente   02/27/15 Prepare sources and uses analysis with data from access queries                                         1.90   $      370.50
Laura Clemente   02/27/15 Analysis of sources and uses; research transactions and make corrections                                1.70   $      331.50
Laura Clemente   02/27/15 Sources and uses analysis; reconcile bank transfers between accounts                                    0.70   $      136.50
Laura Clemente   03/02/15 Prepare for meeting with Vodaware representative, K Perry                                               0.30   $       58.50
Laura Clemente   03/02/15 Meet with K Perry and MF                                                                                2.00   $      390.00
Laura Clemente   03/02/15 Meeting debrief with MF regarding interview with K Perry                                                0.20   $       39.00
Laura Clemente   03/03/15 Review and download sealed orders received                                                              0.20   $       39.00
Laura Clemente   03/03/15 Create query in access for transactions after 9/22/2014; read order extending TRO; research             1.00   $      195.00
                          transactions in context of the order
Laura Clemente   03/09/15 Meeting w/Receiver re: data analysis                                                                    0.40   $       78.00
Laura Clemente   03/11/15 Meeting with Receiver regarding analysis of store related data from 4 sources                           0.70   $      136.50
Laura Clemente   03/11/15 Review and compare database store owner list provided to SEC to QuickBooks customer list                0.80   $      156.00
Laura Clemente   03/11/15 Prepare QuickBooks customer list for analysis against database store owner list; separate store ID      1.90   $      370.50
                          numbers and addresses
Laura Clemente   03/11/15 Prepare QuickBooks customer list for analysis against database store owner list; separate names         1.80   $      351.00
                          and identify duplicates
Laura Clemente   03/11/15 Reconcile database store owner list provided to SEC to QuickBooks customer list combining               2.00   $      390.00
                          customer data into a comprehensive database
Laura Clemente   03/12/15 Review additional bank statements received from Wells Fargo for accounts ending #0980 and               0.20   $       39.00
                          #3065
Laura Clemente   03/12/15 Update Receiver on analysis of store owner data                                                         0.20   $       39.00
Laura Clemente   03/16/15 Review data files received from Vodaware; convert to excel                                              0.60   $      117.00
Laura Clemente   03/16/15 Prepare sources and uses from 9/23/2014 forward regarding compliance with court order                   2.00   $      390.00
Laura Clemente   03/16/15 Meeting with Receiver regarding progress on sources and uses                                            0.50   $       97.50
Laura Clemente   03/25/15 Call and correspondence with Paychex regarding transactions                                             0.80   $      156.00
Laura Clemente   03/25/15 Prepare sources and uses analysis for Regions bank account from 9/23/14 forward per the court           1.90   $      370.50
                          order
Laura Clemente   03/25/15 Prepare sources for sources and uses analysis of all bank accounts from 9/23/14 forward                 1.80   $      351.00
Laura Clemente   03/25/15 Prepare uses for sources and uses analysis of all bank accounts from 9/23/14 forward                    1.90   $      370.50
Laura Clemente   03/25/15 Meet w/Receiver regarding status of sources and uses of funds                                           0.40   $       78.00
Laura Clemente   03/26/15 Call with K Perry regarding data received; subsequent meeting with receiver regarding same              0.70   $      136.50
Laura Clemente   03/26/15 Prepare analysis of sources from all banks for entire period for personal sources and business          1.90   $      370.50
                          sources; determine sales revenue
Laura Clemente   03/26/15 Prepare analysis of uses from all banks for entire period with updated categories; trace additional     1.80   $      351.00
                          transfers between accounts
Laura Clemente   03/26/15 Update database of bank transactions with additional categories and proof other categories; call        1.50   $      292.50
                          with Wells Fargo to better understand timing of transactions
Laura Clemente   03/27/15 Call to Paychex to confirm receipt of TRO                                                               0.10   $       19.50
Laura Clemente   03/27/15 Call with SunTrust regarding remittance of funds                                                        0.20   $       39.00
Laura Clemente   03/27/15 Finish schedule of sources and uses analysis                                                            0.80   $      156.00
Laura Clemente   03/27/15 Reconcile revenues as of 9/30/2014 between QuickBooks records and bank statements                       0.70   $      136.50
Laura Clemente   03/27/15 Reconcile investor payments as of 9/30/2014 between QuickBooks records, bank statements and             0.70   $      136.50
                          files received from K Perry
Laura Clemente   03/27/15 Work w/Receiver regarding sources and uses                                                              0.60   $      117.00
Laura Clemente   03/30/15 Correspondence with Counsel regarding SunTrust response to TRO                                          0.30   $       58.50
Laura Clemente   03/30/15 Analysis of data received from Propay; reconcile Propay data to bank statements, QuickBooks and         1.50   $      292.50
                          Vodaware provided data
Laura Clemente   03/30/15 Analysis of vendors in QuickBooks and vendor list provided by M Brachman                                2.00   $      390.00
Laura Clemente   03/30/15 Prepare vendor contact list                                                                             0.80   $      156.00
Laura Clemente   03/30/15 Call and related research regarding potential storage unit                                              0.30   $       58.50
Laura Clemente   03/30/15 Call and correspondence with Merrick Bank regarding funds remittance                                    0.30   $       58.50
Laura Clemente   03/30/15 Meet w/Receiver regarding data analysis                                                                 0.30   $       58.50
                                                               Total Forensic Accounting                                        254.20   $   48,369.00

                                                                          Total                                                 262.20   $   49,929.00




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